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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA
VS. _ Case No. 1:17-er-00582-CCB-2

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Lauren Jones

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MEMORANDUM AND ORDER |

On March 18, 2020, Defendant filed an Emergency Motion for Immediate Medical
Treatment. (ECF No. 134.) By way of background, Defendant was on pretrial release.
Defendant-has had a rocky course on pretrial release. Most recently, after testing positive for
cocaine on two occasions, Defendant’s release was revoked on March 12, 2020 after aibail

review hearing.

At the time of her presentation to the Chesapeake Detention Facility (“CDF”), Defendant
had been prescribed three mediations (two for a sinus infection and one for pain). Per
Defendant, those medications were surrendered and forwarded to Defendant’s family members

pending a medical evaluation from CDF medical personnel. (ECF No. 134 a 4.)

 

According to Defendant’s motion, CDF medical personnel substituted Tylenol for the
prescribed opiate pain reliever. (ECF No. 134 at 492 and 9.) Defendant does not now challenge
that substitution. However, Defendant has not been given the two medications prescribed for
her sinus infection and was told that they would not be administered until she was evaluated by
an OB/GYN given that Defendant is also pregnant. (ECF No. 134 at{11.) Asa result

Defendant now asserts that CDF does not have the medical staff necessary to treat her. | Plaintiff

 
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further asserts that she is at increased risk of contracting COVID-19 at CDF based on an

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exposure at another federal detention facility, CTF.

Upon receipt of Defendant’s motion, the Court contacted the U.S. Marshals responsible
for federal detainees. The Court was advised that medical personnel at CDF had evaluated
Defendant, had requested (but not yet received) her relevant records from outside providers, and
scheduled an evaluation by an outside OB/GYN on March 19, 2020 to assess, inter alia: the

appropriateness, safety and continuing need for the two prescribed medications based on

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Defendant’s pregnancy, By way of update this morning, Defendant has a follow-up appointment

with the OB/GYN in one weck, and that consultant is assessing the safety and efficacy, of

continuing Defendant’s current antibiotics. It is clear to the Court, therefore, that CDF medical
personnel are adequately addressing Defendant’s medical needs, and whether these two

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medications will be continued will-rest on the sound medical judgment of those providers.
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With regard to the COVID-19 pandemic, the Court recognizes the serious health risk it

poses to the general public, particularly those like Defendant who have underlying health
conditions such as pregnancy and are in a custodial setting. But those risks are not the sole
determinant of whether detention is appropriate. Instead, that decision must also include an
individualized assessment of the standard for detention based on violation of release conditions
as set forth in 18 U.S.C. 3148 and 18 U.S.C. 3142(g). See United States v. Martin (D. Ma,
PWG-19-140-13, March 17, 2020) (denying appeal of detention order after evaluating 18 U.S.C,
3142(g) factors notwithstanding defendant’s underlying medical conditions in setting of COVID-
19). On March 12, 2020, Judge Copperthite of this Court, after a hearing, ordered Defendant

detained based on those factors. (ECF No. 132.) |
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Accordingly, Plaintiff's motion is DENIED.

    

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Date J. Mar: Coulson” =
United States Magistrate Judge
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